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                                   5                         IN THE UNITED STATES DISTRICT COURT
                                   6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                   8    GAVIN NEWSOM, et al.,                           Case No. 25-cv-04870-CRB
                                   9                  Plaintiffs,
                                                                                        ORDER DIRECTING FILING
                                  10           v.
                                  11    DONALD J. TRUMP, et al.,
                                  12                  Defendants.
Northern District of California
 United States District Court




                                  13          On Monday, both parties responded to the Court’s request for briefing as to its
                                  14   continued jurisdiction. See Pl. Supp. Br. (dkt. 94); Def. Supp. Br. (dkt. 95). Plaintiffs’
                                  15   brief included a request for leave to take “expedited, limited discovery as to their claim
                                  16   that Defendants have acted ultra vires of the [Posse Comitatus Act] and as to the
                                  17   permissible scope and duration of the federalization of the National Guard under Section
                                  18   12406.” See Pl. Supp. Br. at 7. Plaintiffs propose that they propound discovery by June
                                  19   26, meet and confer with Defendants shortly thereafter, receive responses and conduct
                                  20   depositions by July 11, and file supplemental briefing on the motion for preliminary
                                  21   injunction on July 15. Id. at 9. Defendants object to the discovery request, arguing that
                                  22   “Defendants have had no opportunity to respond and would be prejudiced if the request
                                  23   were granted without any substantive response from Defendants.” Objection (dkt. 97) at 1.
                                  24          Good cause appearing therefor, the Court DIRECTS Defendants to respond to
                                  25   Plaintiffs’ discovery request by Wednesday, June 25, at 9:00 A.M.
                                  26          IT IS SO ORDERED.
                                  27          Dated: June ___,
                                                          24 2025
                                                                                         CHARLES R. BREYER
                                  28                                                     United States District Judge
